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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


MARK E. ROBINSON,

               Plaintiff,

       v.
                                                       1:15-cv-0444
DISTRICT OF COLUMBIA,

               Defendant.


                                   NOTICE OF REMOVAL

       The District of Columbia presents this Notice of Removal from the Superior Court of the

District of Columbia, Civil Division. As grounds for removal, the District states as follows:

       1.      On January 30, 2015, plaintiff Mark Robinson filed an action against the District

in the Civil Division of the Superior Court of the District of Columbia. See Compl., Civil Action

No. 2015 CA 000726 B (Ex. 1). The plaintiff alleges one count of race discrimination under

Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. § 2000 et. seq. (“Title VII”);

one count of retaliation under Title VII; one count of race discrimination under 42 U.S.C.

§ 1981(a); one count of retaliation under 42 U.S.C. § 1981(a); and, additional counts of race

discrimination and retaliation under the District of Columbia Human Rights Act, D.C. Code

§§ 2-1401.01–2-1411.06 (“D.C. Human Rights Act”), all allegedly arising from his employment

with the District of Columbia Metropolitan Police Department.

       2.      The plaintiff served the District on February 27, 2015. A copy of all process,

pleadings, and orders served on the defendants is contained in Exhibit 1.

       3.      In his complaint, the plaintiff asserts claims under Title VII and 42 U.S.C. § 1981.

See Compl. ¶¶ 19-31.
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         4.      Because these claims arise under the laws of the United States, this Court has

original jurisdiction over them, pursuant to 28 U.S.C. § 1331.

         5.      Under 28 U.S.C § 1441(a), the District may remove the plaintiff’s case to this

Court.

         6.      Two of the plaintiff’s claims are brought under the D.C. Human Rights Act. See

Compl. ¶¶ 32-33. Under 28 U.S.C. § 1367(a), the Court has supplemental jurisdiction over these

claims because they form part of the same case as the plaintiff’s federal claims.

         7.      This removal complies with the procedural requirements of 28 U.S.C. § 1446 as

follows:

                 a. This Notice of Removal is filed within thirty days after service of summons

                    upon the District, and the time for filing this Notice of Removal has not

                    expired.

                 b. Copies of all process, pleadings, and orders served upon the District in this

                    matter, as well as any other papers filed in the Superior Court of the District of

                    Columbia, are attached hereto as Exhibit 1.

                 c. Because the District is the only defendant in this action, the consent of other

                    defendants is not required.

                 d. Promptly after filing this Notice of Removal, the District will provide written

                    notice of the removal of civil action number 2015 CA 000726 B to the

                    plaintiff and will file a copy of the Notice of Removal with the Clerk of Court

                    for the Superior Court of the District of Columbia.

         WHEREFORE, the District removes civil action number 2015 CA 000726 B to this

Court from the Superior Court of the District of Columbia.




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March 26, 2015               Respectfully submitted,

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                             Attorney General for the District of Columbia

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                             Attorneys for the District of Columbia




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                                    Certificate of Service

       I certify that on March 26, 2015, I served the foregoing Notice of Removal and all

attachments via email upon:

Kenneth E. McPherson
6801 Kenilworth Avenue, Suite 202
Riverdale, Maryland 20737

Attorney for Plaintiff

                                    /s/ Ali Naini
                                    ALI NAINI




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